Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 1 of 9




                              UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF FLORIDA

                            Case No.: 21-cv-20862-BLOOM/Otazo-Reyes

  MILLENNIUM FUNDING, INC. et al,

          Plaintiffs,

          vs.

  1701 MANAGEMENT LLC et al,


          Defendants.

  _______________________________________________

             PLAINTIFFS’ REPLY IN SUPPORT OF THEIR MOTION FOR
  RECONSIDERATION OF ORDER DENYING MOTION FOR DEFAULT JUDGMENT
  AGAINST DEFENDANTS 1701 MANAGEMENT LLC d/b/a LIQUIDVPN, AUH2O LLC
           AND CHARLES MUSZYNSKI a/k/a FREDERICK DOUGLAS

          Plaintiffs MILLENNIUM FUNDING, INC. (“Millennium”), VOLTAGE HOLDINGS,

  LLC (“Voltage”), and 42 VENTURES, LLC (“42”) (all collectively “Plaintiffs”) file this reply in

  support of their Motion for Reconsideration (“Motion”) of this honorable Court’s Order [Doc. #167]

  denying default judgement without prejudice against Defendants 1701 MANAGEMENT LLC d/b/a

  LIQUIDVPN (“1701”), AUH2O LLC (“AUH2O”), and CHARLES MUSZYNSKI a/k/a

  FREDERICK DOUGLAS (“Muszynski”) (all collectively “LiquidVPN Defendants”) to the

  opposition filed by Defendants QuadraNet, Inc. and QuadraNet Enterprises LLC (“QuadraNet”).

  For the reasons discussed below, Plaintiffs’ Motion should be granted.

  I.      INTRODUCTION

          This is the second time QuadraNet has intervened to step into the shoes of the LiquidVPN

  Defendants and oppose a motion Plaintiffs made against the LiquidVPN Defendants without leave

  of this Court. The first time QuadraNet argued that Plaintiffs’ motion for default judgment requested




  20-023DBa
Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 2 of 9




  relief or findings that directly or indirectly affected it. See QuadraNet’s Special Objection and

  Limited Opposition [Doc. #134] at pgs. 4-5. This time QuadraNet does not even bother attempting

  to argue that it is even indirectly affected by the relief requested in Plaintiffs’ Motion. Plaintiffs again

  object to QuadraNet’s intervention on behalf of the LiquidVPN Defendants without leave of the

  Court. The Court should ignore QuadraNet’s improper intervention and grant Plaintiffs’ Motion.

  II.     ARGUMENT

  A.      This Court’s inherent authority and Rule 60(b)(6) permit reconsideration of the

  Court’s Order denying Default Judgment.

          QuadraNet asserts that Fed. R. Civ. P. 60(b)(6) does not permit reconsideration of nonfinal

  orders. Opposition [Doc. #1] at pg. 2. However, Rule 60(b)(6) provides “GROUNDS FOR RELIEF

  FROM A FINAL JUDGMENT, ORDER, OR PROCEEDING.” The adjective “final” is only

  before the word “judgment” and separated from the other words ORDER and PROCEEDING by

  commas. In comparison, the writing style of other rules such as Fed. R. Civ. P. 54(b) uses the

  adjective “MULTIPLE” twice to modify the nouns “CLAIMS” and “PARTIES”. Accordingly,

  Rule 60(b)(6) also provides relief from a nonfinal order. The Eighth Circuit similarly concluded

  that “… motions for reconsideration are nothing more than Rule 60(b) motions when directed at

  nonfinal orders”. Elder-Keep v. Aksamit, 460 F.3d 979, 984 (8th Cir. 2006) (quoting Anderson v.

  Raymond Corp., 340 F.3d 520, 525 (8th Cir. 2003)). Moreover, assuming arguendo that Rule

  60(b)(6) does not apply, the Motion was also made pursuant to this Court’s inherent authority to

  reconsider interlocutory orders. Any interlocutory order can be revisited for any reason and at any

  time prior to final judgment. See Covenant Christian Ministries, Inc. v. City of Marietta, Georgia,

  654 F.3d 1231, 1242 (11th Cir. 2011).




                                                       2
Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 3 of 9




  B.     Plaintiffs’ Motion pointed out a change of law that the Court did not consider and

  manifest injustice.

         As pointed out by QuadraNet, Plaintiffs’ counsel Kerry S. Culpepper (“Culpepper”) is an

  officer of 42. Opposition at pg. 1. This fact was disclosed by Culpepper in the Second Amended

  Complaint (“SAC”) [Doc. #96]. See Decl. of Culpepper [Doc. #96-26] at ¶2. In the Motion for

  Reconsideration [Doc. #168], Culpepper briefly pointed out the family tragedy he suffered in

  December of 2020. See Mot. for Reconsideration at pg. 3, FN2. The Governor of the state of Hawai’i

  (where Culpepper resides) implemented numerous emergency orders to deal with the Coronavirus

  Pandemic that were in effect until this past summer that limited Culpepper’s ability to travel. See

  SEVENTEENTH PROCLAMATION RELATED TO THE COVID-19 EMERGENCY, OFFICE

  OF    THE      GOVERNOR          STATE       OF       HAWAI‘I,      https://governor.hawaii.gov/wp-

  content/uploads/2020/12/2012088-ATG_Seventeenth-Proclamation-Related-to-the-COVID-19-

  Emergency-distribution-signed.pdf [last accessed on 12/9/2021]. Hawai’i implemented not only

  mandatory quarantines upon entry and return into the state, but also quarantines for travel between

  even counties within Hawai’i. See Id. at pg. 12 (“V. Quarantine for Travel Between Counties”).

         42 has invested time and resources to stream legal content under its US, Iceland and Russia

  registered trademark “Popcorn Time” through an agreement with Andy Signore, the creator of the

  popular YouTube® channel Popcorned Planet (since 2009) and former executive producer of the

  Emmy nominated series Honest Trailers. See Id. at ¶3. 42 has asserted no claims against QuadraNet

  in the SAC, yet QuadraNet opposes 42’s motion to obtain relief against the LiquidVPN Defendants

  for continuing to use 42’s trademark in connection with movie piracy.

         QuadraNet incorrectly asserts that Plaintiffs’ Motion “omitted any reference to an intervening

  change in controlling law…or…clear manifest injustice”. Opposition at pg. 1. However, Plaintiffs


                                                    3
Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 4 of 9




  pointed out that the Court did not consider a change in law – the Dec. 27, 2020 amendments to 15

  U.S.C. §1116(a) per the Trademark Modernization Act which provide that a trademark owner such

  as 42 is “…entitled to a rebuttable presumption of irreparable harm upon a finding of a violation

  identified in this subsection … upon a finding of likelihood of success on the merits for a violation

  identified in this subsection in the case of a motion for a preliminary injunction or temporary

  restraining order.” 15 U.S.C. §1116(a). QuadraNet does not address this change in law.

         Plaintiffs further asserted that it is clear error or manifest injustice to not consider their non-

  title 17 (copyright) claims that were made against only the LiquidVPN Defendants when the Court

  concluded that there was risk of inconsistent judgments.

  C.     Plaintiffs adequately explain that their requested relief will not lead to inconsistent

  judgments because they are only asserted against the Defaulting LiquidVPN Defendants.

         QuadraNet asserts that Plaintiffs failed to rebut its arguments concerning inconsistent

  judgments. Opposition at pg. 3. However, as shown below, QuadraNet’s arguments were

  concerning the copyright claims.

         The SAC asserts multiple direct and indirect copyright infringement claims against all
         defendants, predicated on those defendants’ purported involvement in the allegedly
         infringing activity, such that – as presented in the convoluted SAC – they appear
         inextricably intertwined. Accordingly, there is “just reason for delay” in entering any
         sort of default final judgment.

  QuadraNet’s Special Objection and Limited Opposition [Doc. #134] at pg. 3. Plaintiffs only seek

  reconsideration of their motion for defaults judgment concerning the trademark, unfair competition,

  breach of contract and breach of publicity non-copyright claims that are only asserted against the

  LiquidVPN Defendants. Thus, there is no risk of inconsistent judgments. Further, Plaintiffs’ non-

  copyright claims against the LiquidVPN Defendants have no effect on the procedural posture of this

  case. Nor does QuadraNet argue that they do.


                                                     4
Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 5 of 9




           QuadraNet also asserts, without any support, that it is likely that the LiquidVPN Defendants

  will respond to the SAC. The LiquidVPN Defendants have defaulted repeatedly. See [Docs. ##52-53,

  69, 112]. The LiquidVPN Defendants have failed to file an opposition to the Motion for Default

  Judgment (QuadraNet did it for them). The LiquidVPN Defendants have failed to file a motion to set

  aside default. The LiquidVPN Defendants have failed to file an opposition to the Motion for

  Reconsideration (QuadraNet did it for them again). Accordingly, it is highly unlikely that the

  LiquidVPN Defendants intend to participate in these proceedings. If QuadraNet and/or QuadraNet’s

  counsel is an actuality representing the LiquidVPN Defendants, they should file the appropriate notices

  of appearances and disclosures rather than repeatedly intervening in the LiquidVPN Defendants’ behalf

  without leave of this Court.

           QuadraNet once again repeats its futile argument that the SAC is a shotgun pleading merely

  because each of counts 11-13 incorporate by reference paragraphs 361-371 rather than repeating

  these 10 paragraphs again in each of the counts. See Opposition at pg. 4. Contradictorily, QuadraNet

  also criticized the SAC as “convoluted”. Opposition [Doc. #134] at pg. 3. Just because QuadraNet

  keeps saying something does not mean it is true. The SAC is clearly not a shotgun pleading because

  it does not contain “multiple counts where each count adopts the allegations of all preceding counts,

  causing each successive count to carry all that came before and the last count to be a combination of

  the entire complaint”. Weiland v. Palm Beach Cnty. Sheriff’s Office, 792 F.3d 1313, 1321 (11th Cir.

  2015).

  D.       Plaintiffs adequately explain why there is no just reason for delaying entry of default

  judgment for the non-copyright claims.

           As explained above, the non-copyright claims for which Plaintiffs request default judgment

  are not asserted against QuadraNet, TorGuard and DOES 1-100, but rather only the LiquidVPN



                                                    5
Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 6 of 9




  Defendants. Accordingly, there is no issue with the LiquidVPN Defendants being similarly situated

  to non-defaulting Defendants with regards to the non-copyright claims.

         Taking the presumption of irreparable harm provided by the amended version of §1116(a)

  into account, the Court should conclude that there is no just reason to delay entry of final judgment

  of 42’s trademark and unfair competition claims per Rule 54(b) so that 42 can obtain injunctive relief

  against the Liquid VPN Defendants and stop further irreparable harm to its trademark. 42 was not

  one of the Plaintiffs in the original complaint. See Complaint [Doc. #1]. Rather, 42 joined this action

  in the First Amended Complaint [Doc. #24] and filed a request for a temporary restraining order

  [Doc. #28] the same day. Accordingly, 42 did not wait to seek at TRO for “more than two months

  after filing their initial complaint on March 3, 2021”. Order [Doc. #167] at pgs. 8-9. QuadraNet

  fails to address the change and law or the fact that 42 immediately filed for TRO with its first

  appearance. Moreover, all of the cases the Court relied on in asserting that the alleged delay

  supported denying 42’s motion for a TRO (see Order [Doc. #93] at pg. 16) predate the Trademark

  Modernization Act and are therefore no longer applicable in the trademark context. See Luv N' Care

  v. Laurain, No. 3:16-00777, 2021 U.S. Dist. LEXIS 153150, at *6 (W.D. La. Aug. 13, 2021)

  (“[C]ases cited…predate the Trademark Modernization Act of 2020 (“TMA”), which would appear

  to make these cases no longer applicable.”)

         QuadraNet argues that “[i]rreparable harm is…irrelevant to Millennium’s and Voltage’s

  purported breach of contract and publicity claims…there is no prejudice if the Motion…is denied.”

  Opposition at pg. 5. QuadraNet ignores the significant ongoing damage to David Cox from the

  LiquidVPN Defendants’ breach of his publicity rights. Particularly, David Cox continues to lose

  customers who have been misled into believing he is associated with the LiquidVPN Defendants’

  piracy activities. See Decl. of Cox [Doc. 125-2] at ¶¶3-8 (David Cox has lost over 45 business


                                                    6
Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 7 of 9




  customers who believed he is still associated with LiquidVPN because of the LiquidVPN

  Defendants’ website). This declaration of David Cox was included in the motion for default

  judgment.    Plaintiffs’ proposed injunction orders the LiquidVPN Defendants to “refrain from

  referring to DAVID COX or his dissolved corporation LiquidVPN in any manner that falsely

  portrays him and his dissolved corporation as playing a role in the operations of LiquidVPN on their

  website”. See [Doc. #168-2] at (1)(b). Accordingly, there is no just reason to delay entry of final

  judgment of Millennium’s and Voltage’s assigned breach of contract and publicity claims per Rule

  54(b) to stop the irreparable harm being done to David Cox.

  E.     QuadraNet has waived personal jurisdiction or improper venue by appearing and

  arguing against a motion for reconsideration that has zero effect on it.

         QuadraNet cannot avoid the implications of its extensive participation in these proceedings

  by merely labeling its intervening opposition as “special” and stating it is not waiving its Rule 12

  defenses particularly when it steps in for other Defendants and opposes a motion that has absolutely

  nothing to do with it. See Scope Leasing, Inc. v. Clearwater Aviation, Inc., No. 8:15-cv-2062-T-

  17AEP, 2015 U.S. Dist. LEXIS 130404, at *5 (M.D. Fla. Sep. 26, 2015) (quoting 5C Fed. Prac. &

  Proc. Civ. § 1391 (3d ed.) (“[A] party can be held to have waived a defense listed in Rule 12(h)(1)

  through conduct, such as extensive participation in the discovery process or other aspects of the

  litigation of the case even if the literal requirements of Rule 12(h)(1) have been met.”). As discussed

  above, QuadraNet does not even attempt to argue that granting the relief requested in this Motion

  will affect it, yet it has purposefully interjected itself in these proceedings and asked this Court to

  consider its arguments. Accordingly, QuadraNet has participated in these proceedings to the extent

  that it has waived any arguments against personal jurisdiction and venue.

  III. CONCLUSION


                                                    7
Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 8 of 9




         For the foregoing reasons, Plaintiffs Millennium, Voltage and 42 respectfully request that

  the Court reconsider its order denying final default judgment and permanent injunction against

  Defendants 1701 MANAGEMENT LLC d/b/a LIQUIDVPN, AUH2O LLC, and CHARLES

  MUSZYNSKI a/k/a FREDERICK DOUGLAS with respect to Plaintiffs’ non-copyright claims and

  grant a default judgment in the form of the proposed Final Default Judgment and permanent

  injunction previously filed.



  DATED: Dec. 10, 2021                        Respectfully submitted,



                                               /s/ Joel B. Rothman
                                               JOEL B. ROTHMAN
                                               Florida Bar No. 98220
                                               joel.rothman@sriplaw.com
                                               CRAIG A. WIRTH
                                               Florida Bar Number: 125322
                                               craig.wirth@sriplaw.com

                                               SRIPLAW
                                               21301 Powerline Road, Suite 100
                                               Boca Raton, FL 33433
                                               561.404.4350 – Telephone
                                               561.404.4353 – Facsimile

                                               And

                                               Kerry S. Culpepper
                                               Admitted pro hac vice
                                               CULPEPPER IP, LLLC
                                               75-170 Hualalai Road
                                               Suite B204
                                               Kailua-Kona, HI 96740
                                               808.464.4047 – Telephone
                                               kculpepper@culpepperip.com

                                               Attorney for Plaintiffs



                                                 8
Case 1:21-cv-20862-BB Document 172 Entered on FLSD Docket 12/10/2021 Page 9 of 9




                                  CERTIFICATE OF SERVICE

         The undersigned does hereby certify that on December 10, 2021, the foregoing document

  was electronically filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served on this day on all those identified on the Service List, either via

  transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those parties who are not authorized to receive Notices of Electronic Filing.

                                                s/ Joel B. Rothman
                                                JOEL B. ROTHMAN
                                                Florida Bar Number: 98220
                                                joel.rothman@sriplaw.com


                                           SERVICE LIST

   Mr. Johnathan R. Woodard                            Mr. Bobby A. Ghajar
   Mr. John Cyril Malloy III                           Cooley LLP
   Mr. Oliver Alan Ruiz                                1333 Second Street
   Malloy & Malloy, PL                                 Suite 400
   2800 SW 3rd Ave                                     Santa Monica, CA 90401
   Miami, FL 33129-2317                                bghajar@cooley.com
   info@malloylaw.com                                  Attorneys for QuadraNet, Inc. and QuadraNet
   jwoodard@malloylaw.com                              Enterprises, LLC
   jcmalloy@malloylaw.com
   oruiz@malloylaw.com
   Attorneys for QuadraNet, Inc. and QuadraNet
   Enterprises, LLC


   Mr. Adam Losey
   Losey PLLC
   1420 Edgewater Drive
   Orlando, FL 32804
   alosey@losey.law
   Attorney for VPNetworks, LLC dba
   TorGuard




                                                   9
